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January 22, 2019
Via ECF

The Honorable Christina Reiss

United States District Court, District of Vermont
P.O. Box 446

Burlington, VT 05402-0446

Re: Black Love Resl`sts in the Rust et al. v. Cin of Bu/j‘alo et al.; No. lS-CV-7l9

Dear Judge Reiss:

The National Center for Law and Economic Justice, along with the Center for Constitutional Rights and
the Western New York Law Center, represents the Plaintiffs in Black Love Resists in the Rust et al. v.
Cz'ty of Bujalo et al. We write to advise the Court of the current status of discovery in this matter.

Following the telephone conference held on December 21, 2019, the parties continued to confer with
respect to Plaintiffs’ discovery requests. Defendants supplemented their document production on
Saturday, January l9, and provided additional informal responses on January 20 and 21. Plaintiffs have
been able to review some, but not all, of Defendants’ production. Plaintiffs continue to anticipate the
need for court intervention, but because we have not yet been able to review Defendants’ entire
production, we cannot identify which matters remain in dispute. Accordingly, Plaintiffs request an
additional week, until Tuesday, January 29, to contact the court regarding issues that the parties cannot
resolve. Defendants do not object to this request.

Thank you very much for your consideration of this request.
Respectfully Submitted,

@CMMl/WW\Q/

Claudia Wilner
Senior Attorney

Cc: All counsel of record (via ECF)

